Case: 1:18-cv-03352 Document #: 14 Filed: 11/30/18 Page 1 of 1 Page|D #:41

UNITED STATES I)IS'I`RICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
MARQUISE BOOKER, )
Plaintiff, l Case No.: l:lS~cv~03352
v. l Honorable Judge Elaine E. Bucklo
PROTECTIVE SERVICES AGENCY, INC. l
Defendant. §

MOTION FOR LEAVE TO WITHL)RAW AI’PEARANCE

NOW COMES KELLEY KRONENBERG, P.A,, counsel for Defendant PROTECTIVE
SERVICES AGENCY, I"NC., and moves this I~lonorable Ceurt to grant it leave to withdraw its
appearance on behalf of Protective Services Agency, Inc. due to irreconcilable differences Which
have developed between counsel and its client.

WHEREFORE, PROTECTIVE SER.VICES AGENCY, INC. respectfully requests that
this Honorable Court enter an order granting Kelley Kronenberg, P.A. leave to Withclraw it
appearance on behalf of Protective Services Ageney, Inc. and for such further or other relief this

Court deems just and proper.

Protective Services Agency, Ine.,

By: /s/ Aclarn l\/l. Bereer
One of Its Attorneys

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